Case 4:20-cv-00068-RWS-CMC Document 129 Filed 10/26/20 Page 1 of 3 PageID #: 3178




                         IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

   JUAN LOZADA-LEONI,             §
                                  §
         Plaintiff,               §
                                  §
     vs.                          §
                                  §                       Civil Action No. 4:20-cv-68
   MONEYGRAM INTERNATIONAL, INC., §
   and MONEYGRAM PAYMENT          §
   SYSTEMS, INC.,                 §
         Defendants.              §
                                  §
                                  §


               KARDELL LAW GROUP'S COMPLAINT IN INTERVENTION



        TO THE HONORABLE COURT:


        Intervenor, Kardell Law Group, files this Complaint in Intervention as a party Plaintiff, as

    authorized by Federal Rule of Civil Procedure 24.


                                                 PARTIES

        1.   Intervenor is a corporation.

        2.   Plaintiff is an individual who is a citizen of the State of Texas.

        3.   Defendants MoneyGram International, Inc., and MoneyGram Payment Systems,

    Inc. have appeared and answered herein.

        4.   The Kardell Law Group, on behalf of Plaintiff Juan Lozada-Leoni, sued Defendant

    MoneyGram International, Inc., and MoneyGram Payment Systems, Inc. for damages, to




 KARDELL LAW GROUP’S COMPLAINT IN INTERVENTION Page 1 of 3
Case 4:20-cv-00068-RWS-CMC Document 129 Filed 10/26/20 Page 2 of 3 PageID #: 3179



    which Defendant has answered.

                                       INTERVENOR'S CLAIM

        5.   The Kardell Law Group (the law firm) was hired by Juan Lozada-Leoni to represent

    him for retaliation under the Sarbanes Oxley Act on or about September 8, 2017. The Kardell

    Law Group agreed to represent Mr. Lozada-Leoni on a contingency fee basis, and

    consequently expended both money for case expenses as well as attorney and staff time in

    representing Mr. Lozada-Leoni. The contract provided that Mr. Lozada-Leoni assign a

    percentage of any recovery made on his claims in exchange for the law firm's agreement to

    represent him in pursuit of his claims. Further, Mr. Lozada-Leoni agreed to reimburse the

    firm for all expenses incurred by the law firm in prosecution of claims on his behalf. Acting

    under contract, the law firm prosecuted Mr. Lozada-Leoni's claims, including instituting this

    lawsuit on his behalf.

        6.   In spite of the firm's diligent and competent efforts, Mr. Lozada-Leoni unilaterally

    and without good cause terminated KLG from representing him in his legal action. After

    terminating the firm, Mr. Lozada-Leoni retained Susan Hutchinson and Rafe Foreman of the

    Hutchinson & Stoy law firm.

        7.   KLG (Kardell Law Group) seeks to intervene to protect its contractual interest in the

    proceeds from this lawsuit.

        WHEREFORE, PREMISES CONSIDERED, the Kardell Law Group respectfully

    requests that its attorney contingent fee contract be enforced and that the agreed-upon fee be

    withheld from any funds paid to Plaintiff Lozada-Leoni, whether by agreement or judgment

    of the Court, and promptly remitted to the Kardell Law Group.




 KARDELL LAW GROUP’S COMPLAINT IN INTERVENTION Page 2 of 3
Case 4:20-cv-00068-RWS-CMC Document 129 Filed 10/26/20 Page 3 of 3 PageID #: 3180



                                         Respectfully submitted,


                                                        /s/ Steve Kardell
                                                        Steve Kardell
                                                        Texas State Bar No. 11098400
                                                        E-mail: skardell@kardelllawgroup.com
                                                        KARDELL LAW GROUP
                                                        4514 Cole Avenue, Suite 600
                                                        Dallas, Texas 75205
                                                        Telephone: (214) 616-4654
                                                        Facsimile: (469) 729-9926
                                                        ATTORNEY FOR INTERVENOR


                                             CERTIFICATE OF SERVICE
        I hereby certify that the foregoing document has been transmitted to all counsel of record on
    October 26, 2020.

                                                     /s/ Steve Kardell




 KARDELL LAW GROUP’S COMPLAINT IN INTERVENTION Page 3 of 3
